                       1   MANATT, PHELPS & PHILLIPS, LLP
                           Christine M. Reilly (Bar No. 226388)
                       2   E-mail: CReilly@manatt.com
                           Justin Jones Rodriguez (Bar No. 279080)
                       3   E-mail: JJRodriguez@manatt.com
                           Kristin E. Haule (Bar No. 312139)
                       4   E-mail: KHaule@manatt.com
                           11355 West Olympic Boulevard
                       5   Los Angeles, California 90064-1614
                           Telephone: (310) 312-4000
                       6   Facsimile: (310) 312-4224
                       7   Attorneys for Defendants
                           PeopleConnect, Inc. d/b/a Intelius
                       8   (erroneously sued as Intlius Inc.)
                       9
                                                    UNITED STATES DISTRICT COURT
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                                              NORTHERN DISTRICT OF CALIFORNIA
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                      12                               SAN FRANCISCO DIVISION
                      13
                           JASON MYUNG ROGERS                        No. 3:19-cv-03416–JCS
                      14
                                       Plaintiff,                    CLASS ACTION
                      15
                                 vs.                                 [PROPOSED] ORDER EXTENDING
                      16                                             TIME TO RESPOND TO
                           INTELIUS INC.,                            PLAINTIFF’S FIRST AMENDED
                      17                                             COMPLAINT
                                       Defendants.
                      18                                             Complaint Filed: November 28, 2018
                                                                     FAC Filed: January 3, 2019
                      19                                             FAC Served (state ct.): May 17, 2019
                                                                     Notice of Removal: June 14, 2019
                      20                                             Current Response Date: June 21, 2019
                                                                     Requested Response Date: July 22, 2019
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M ANATT , P HELPS &
                                                                                             [PROPSOED] ORDER
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                 1                         (No. 3:19-cv-03416–JCS)
     LOS A NG EL ES
                       1            Good cause appearing, this Court ORDERS that Defendant PeopleConnect,
                       2   Inc. d/b/a Intelius’s Motion for Extension of Time to Respond to Plaintiff’s First
                       3   Amended Complaint is GRANTED and the time for Defendant PeopleConnect,
                       4   Inc. d/b/a Intelius to file its responsive pleading is extended by thirty days from
                       5   June 21, 2019, up to and including July 22, 2019.
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                       8     Dated: June 21, 2019
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                                                                          JOSEPH C. SPERO
                                                                          United States Magistrate Judge
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M ANATT , P HELPS &
                                                                                                 [PROPSOED] ORDER
  P HILLIPS , LLP
  ATTO RNEY S AT LAW
                                                                     2                         (No. 3:19-cv-03416–JCS)
     LOS A NG EL ES
